         Case 23-90005 Document 290 Filed in TXSB on 02/01/23 Page 1 of 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                                          §      Chapter 11
                                                                §
PARTY CITY HOLDCO INC., et al.,1                                §      Case No. 23-90005 (DRJ)
                                                                §
              DEBTOR(S)                                         §      (Jointly Administered)

                      NOTICE OF ORGANIZATIONAL MEETING
                FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       The organizational meeting for the Official Committee of Unsecured Creditors in the
captioned case will be convened by telephone conference on February 1, 2023, at 11:00 a.m., CST.
Members of the committee have been provided call-in instructions. Members may also appear in
person at the Office of the United States Trustee, United States Courthouse, 515 Rusk, Third Floor,
Suite 3401, Houston, Texas 77002.

Dated: February 1, 2023                                  KEVIN M. EPSTEIN
                                                         UNITED STATES TRUSTEE

                                                          By: /s/ Andrew Jiménez
                                                          Andrew Jiménez, Trial Attorney
                                                          District of Columbia Bar 991907
                                                          Email: Andrew.Jimenez@usdoj.gov
                                                          606 N. Carancahua Street, Suite 1107
                                                          Corpus Christi, TX 78401
                                                          (361) 888-3261
                                                          (361) 888-3263 Fax

                                       CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Organizational
Meeting for the Official Committee of Unsecured Creditors has been served by electronic means
on all PACER participants on February 1, 2023.

                                                       /s/ Andrew Jiménez
                                                       Andrew Jiménez
                                                       Trial Attorney
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Party City Holdco Inc. (9758); Amscan Custom Injection Molding, LLC (4238); Amscan Inc. (1359);
Amscan Purple Sage, LLC (3514); Am-Source, LLC (8427); Anagram Eden Prairie Property Holdings LLC (8309);
Party City Corporation (3692); Party City Holdings Inc. (3029); Party Horizon Inc. (5812); PC Intermediate Holdings,
Inc. (1229); PC Nextco Finance, Inc. (2091); PC Nextco Holdings, LLC (7285); Print Appeal, Inc. (5932); and Trisar,
Inc. (0659). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 100 Tice Boulevard,
Woodcliff Lake, New Jersey 07677.
